Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 1 of 42 PageID: 10




                       EXHIBIT A
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 2 of 42 PageID: 11
           Koman         Tf    J.J41 /9) 1JUti:




Patient Information
  Patient Name                     MRN               Sex              DOB
  Roman Atimmillio                 103334179         Male            '41.11111111ft

Operative Report signed by John J Vaccaro, MD at 4/25/2018 15:03
 Author: John J Vaccaro, MD          Service:(none)                    Author Type: Physician
 Filed: 4/25/2018 15:03              Date of Service: 4/23/2018 0:00   Status: Signed
 Editor: John J Vaccaro, MD (Physician)                               Trans ID: H1593044
 Dictation Time: Trans Time:        Trans Doc Type: Trans Status: Available
 4/24/2018 21:42 4/25/2018 7:57 Operative
                                     Report
 SURGEON: John J. Vaccaro, MD
  DATE: 04/23/2018

 OPERATION: Left Upper Extremity: Neuroplasty with nerve wrapping.

 ANESTHESIA: General
  4X loupe magnification
   NerveProtector D = 5 mm,; L = 40 mm,; Lot: LB969304


 PRE-OP DX: Complex open fracture of the left upper extremity with associated
 ulnar nerve injury and multiple trauma.

 POST-OP DX: Left Upper Extremity: Complex fracture of the left olecranon with
 disruption of the ulnar nerve.

 HISTORY: This patient is a 31-year-old male who was not initially evaluated
 by me. He was immediately taken to the Hackensack University Medical Center,
 to the operating room for an acute open communuted fracture of the left upper
 extremity. The
 patient's record reveals that he is 31 years old, was riding a Vespa on a
 highway and hit a large pothole that caused him to crash. The patient had a
 loss of consciousness, but was wearing a helmet at the time and he was
 immediately evaluated by the trauma service. Evaluation by the trauma service
  revealed a complex olecranon fracture that was open; as well as a nondisplaced
  proximal humeral fracture. A consultation was called with orthopedics, Dr.
 Keller,

 PHYSICAL EXAMINATION: Initial exam revealed a well-developed, well-nourished
 male who was awake and alert. Head, ears, eyes, nose, neck, and oral cavity:
  The neck C-spine was nontender, and was cleared for surgery. He had a
 laceration involving the anterior mental area and lacerations involving the
 frenulum of the upper lip (these were not addressed by me). Examination of
 the chest, heart, lungs and abdomen have been carried out in great detail by Trauma.
  Chest, heart, lungs, and abdomen had been carried out by the trauma service.
 Examination
 of the patient's left upper extremity revealed that he had a large stellate laceration with



         Roman(MR # 103334179)Printed by John J Vaccaro, MD [JV1431] at 4/2_ Page 1 of 2
   Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 3 of 42 PageID: 12
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     exposed bone and muscle. All during this time, I was not made aware to evaluate the
      motor function
     or sensory function of his hand, wrist and forearm. He was immediately taken
     to the operating room where. Dr. Julie Keller addressed the olecranon fracture
     and noted there was a disruption of the ulnar nerve and a hand consultation
     was requested and I responded in the operating room with the patient under
     general anesthesia.
     After exploring the wound and pulse irrigation of the wound, the ulnar nerve
     was noted to be frayed, but not completely transected. It was
     frayed in such a way with approximately an 8 mm area of fraying, but there was
      no gap. With this in mind and after again pulse irrigating the area there was soft tissue
     swelling. It was elected to place a nerve wrapping over the frayed area. With the
     placement of the
      nerve protector, this was done carefully and meticulously not to go and
     violate the unaffected proximal and distal ends of the ulnar nerve. This was placed
      and held in place with 5-0 nylon. Once this was completed, Dr. Keller
     returned to the operative site and addressed the musculature and the soft
     tissue closure.



     CC: John J. Vaccaro, MD

     Electronically signed by John J Vaccaro, MD at 4/25/2018 15:03
     Revision History

  Media
     Electronic signature on 4/23/2018 18:59
     Electronic signature on 4/23/2018 18:59


  Activity Date
     Activity Date
     Apr 23,2018

  Routing History




Abramovsky, Roman(MR # 103334179)Printed by John J Vaccaro, MD [JV1431] at 4/2... Page 2 of2
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 4 of 42 PageID: 13




                       EXHIBIT B
  Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 5 of 42 PageID: 14

                                  JC-1\1 J. VACCARO,.M.D., P.A., F.:

                                      Diplomate American Board of Plastic Surgery
                •                     Fellow of the American College of Surgeons                               •
          Member                                                                                           Member
    A merican Society fur                                                                                      SOOlirPY OP
Aesthetic Plastic Surgery, Inc.                                                                       PLASTIC StACIIONS


                                         ASSIGNMENT OF BENEFITS

                                          LTD. POWER OF ATTORNEY

I irrevocably assign to you, my medical provider, all of my rights and benefits under my insurance contract
and/or any employee welfare benefit plan for payment for services rendered to me, including but not
limited to all of my rights under "ERISA" applicable to the medical services at issue. I authorize you to file
insurance claims on my behalf for services rendered to me and this specifically includes filing
a rbitration/litigation in your name on my behalf against the PIP carrier/health care carrier. I Irrevocably
a uthorize you to retain an attorney of your choice on my behalf for collection of your bills. I direct that all
reimbursable medical payments go directly to you, my medical provider. I authorize and consent to your
acting on my behalf in this regard and in regard to my general health insurance coverage and I specifically
a uthorize you to pursue any administrative appeals conducted pursuant to "ERISA".

I n the event the insurance carrier responsible for making medical payments in this matter does not accept
my assignment, or my assignment is challenged or deemed Invalid, I execute this limited/special power of
attorney and appoint and authorize your collection attorney as my agent and attorney to collect payment
for your medical services directly against the carrier In this case, in my name, including filing arbitration
demand or lawsuit. I specifically authorize that attorney to file directly against that carrier in my name or in
your name as a medical provider rendering services to me and designate your collection attorney as my
attorney in fact. I further grant limited power of attorney to you as my medical provider to receive and
collect directly from the insurance carrier money due you for services rendered to me in this matter, and
hereby instruct the insurance carrier to pay you directly any monies due you for medical services you
rendered me. I authorize you and or your attorney to receive from my insurer, immediately upon verbal
request, all information regarding last payment made by said insurer on my claim, including date of
payment and balance of benefits remaining.

I authorize you and or your attorney to obtain medical information regarding my physical condition from
any other health care provider, including hospitals, diagnostic centers, etc., and I specifically authorize such
health care provider(s) to release all such information to you about me, including medical reports, X-ray
reports, and any other report or Information regarding my physical condition.

Dated:                 hc-1 12--C30
                                                      Patient's Signa re
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 6 of 42 PageID: 15




                        EXHIBIT C
                         Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 7 of 42 PageID: 16
El 1:. 1.El
441..
                                                                                                                                     Oxford Health                                                                                                        cc
                                                                                                                                     P 0 Box 29130
    HEALTH INSURANCE CLAIM FORM
    APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE(NUCC)02/12                                                                          Hot Springs                                   AR       71903
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   1 1- 1PICA                                                                                                                                                                                                                            PICA r    1 -I - 4,.
    1.    MEDICARE              MEDICAID              TRICARE                 CHAMPVA           GROUP                FECA
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    2. PATIENT'S NAME(Last Name, First Name, Middle Initial) •                                -MENI T'Saf IRITH DATE
                                                                                           3. PA                          SEX,       4. INSURED'S NAME(Last Name, First Name, Middle Inillal)

    Alilly,Roman                                                                            Nalillailli.           M        F                        El   AlM1111116 Roman
                                                                                                                                                            7.INSURED'S ADDRESS (No.,Street)
    5.PATIENT'S ADDRESS(No., Street)                                                       6. PATIENT RELATIONSHIP TO INSURED

01111migisiattilla                                                                           Self Spouse❑ Chill: Other0                                   eighwisprams
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    CITY                                                                       STATE       8.RESERVED FOR NUCC USE                                          CITY

    01111111111111                                                             NY                                                                         1111111111111111                                                              NY
     ZIP CODE                              TELEPHONE (Include Area Code)                                                                                    ZIP CODE                                     TELEPHONE (Include Area Code)

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                             dillimms                                                                                                                     MP                                                  4404411111.1111k
 9.OTHER INSURED'S NAME (Last Name,First Name,Middle initial)                              10.IS PATIENT'S CONDITION RELATED TO:                            11.INSURED'S POLICY GROUP OR FECA NUMBER                                                      Z
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     b.RESERVED FOR NUCC USE                                                               b.AUTO ACCIDENT?
                                                                                                                                PLACE (State) b.OTIHER CLAIM ID (Designated by NUCC)




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                                                                                                        El YES              Ba NO                 i
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     c.RESERVED FOR NUCC USE                                                               c.OTHER ACCIDENT?                                                c.INSURANCE PLAN NAME OR PROGRAM NAME
                                                                                                        0YES                 ta     NO                    Oxford Health
     d.INSURANCE PLAN NAME OR PROGRAM NAME                                                 10d.CLAIM CODES(Designated by NUCC)                              d.IS THERE ANOTHER HEALTH BENEFIT PLAN?

                                                                                                                                                                        0YES pi NO                   If yea,complete Items 9,9a,and 9d.
                                                                                                                                                            13.INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I authorize
                                 READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM.
     12.PATIENT'S OR AUTHORIZED PERSON'S SIGNATURE I authorize the eiease of any medical or other Information necessary                                        payment of medical benefits to the undersigned physician or supplier for
        to process this claim.I also request payment of government benefits either to myself or to the party who accepts assignment                            services described below.
        below.




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     •.• SIGNEDSignaturitan File                                                                       DATE   06 11 19 ______________                                    SIGNED    Signature On File
     14.DATE OF URRW
                 I     ILLNESS,INJURY,
                                 i    or PREGNANCY (LMP) 15.OTHER
                                                              I   DATE
                                                                     I                                                                                        16.DATES PATIENT UNABLE TO WORK IN CURRENT OCCUPATION
                                                                                                                MM t DD I                    YY                         MM , DD ,    YY             MM , DD ,    YY
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           1     i          QUAL.                                    I                                             1    1                                                         1                    1     i
     17.NAME OF REFERRING PROVIDER OR OTHER SOURCE       17a.                                                                                        :%.% ''. 18.HOSPITALIZATION DATES RELATED TO CURRENT SERVICES
                                                                                                                                                                        MM , DD ,    YY             MM , DD ,    YY
              1                                 -                                    17b. NPI                                                                    - FROM 04 123    18            TO 04 25     118
              1                                                                                                                                                                                        1     i
     19.ADDITIONAL CLAIM INFORMATION (Designated by NUCC)                                                                                                     20.OUTSIDE LAB?                  $ CHARGES
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     21.DIAGNOSIS OR NATURE OF ILLNESS OR INJURY Relate A-L to service line below (24E)                             ICD Ind. b
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                                                                                                                                                            22.RESUBMISSION
                                                                                                                                                               CODE                                      ORIGINAL REF.NO.
      A. b44-02X4-                             B. I                                 C. I                                    D I                                                       I
                                                                                                                                                                23.PRIOR AUTHORIZATION NUMBER
      E.I                                      F. I                                 G I                                     H I
      I. 1                                     J. I                                K. I                           L I




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     24. A.         DATE(S)OF SERVICE                          B.    C.       D. PROCEDURES,SERVICES,OR SUPPLIES                                    E.                       F.                 G.           H.      I.                J.
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                  From              To                      PLACE OF              (Explain Unusual Circumstances)                               DIAGNOSIS                                     OR         Runty  ID.
      MM          DO    YY    MM   DD                 YY    SERVICE EMG        CPT/HCPCS I               MODIFIER                                POINTER                 $ CHARGES           UNITS        Plan DUAL.              PROVIDER ID. N

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     25.FEDERAL TAX I.D. NUMBER                          SSN EIN       26.PATIENT'S ACCOUNT NO.                   27.A:   cla
                                                                                                                      C8rEriruiLitlggir?                        28.TOTAL CHARGE                  29.AMOUNT PAID                   30.Revd for NUCC Use

     22 2550670                                          ElI I         2814                                       0YES                EJ NO                         $
                                                                                                                                                                                  14225100           $              6000;00                 8225100
     31.SIGNATURE OF PHYSICIAN OR SUPPLIER                             32.SERVICE FACILITY LOCATION INFORMATION                                                 33.BILLING PROVIDER INFO & PH It                   ( 732 9)4 2100
        INCLUDING DEGREES OR CREDENTIALS
        (I certify that the statements on the reverse                  Hackensack University Medical Center                                                         John J Vaccaro M D PA
        apply to this bill and are made a part thereof.)
                                                                       30 Prospect Avenue                                                                           202 Route 37 West Suite 1
                                                                        Hackensack NJ 07601 1914                                                                    Toms River NJ 08755 8055
       I DVaccaro M D                               06 11 19            a.                     h                                                                    a.                          1b.
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     td                                               DATE                 .tnncsR2nqn                                                                                   1730372665
     NUCC Instruction Manual available at: www                         nucc.org             PLEASE PRINT OR TYPE                                                                  APPROVED                    - 3 -                             (02-
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 8 of 42 PageID: 17




                        EXHIBIT D
            Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 9 of 42 PageID: 18
                  Oxford Health Plans NY Inc
                  UnitedHealthcare - Oxford
                  4 Research Drive
                                                                    STD -PRA               UnitedHealthcare°
                                                                                                                     Oxford
                  Shelton CT 06484
                  Phone: 1-800-666-1353
                                                            PROVIDER
                                                        REMITTANCE ADVICE
                                                                                               CHECK DATE: 10/22/18
                                                                                                       TIN: 222550670
                                                                                              VENDOR NAME: JOHN .1 VACCARO MD PA
                                                                                             CHECK NUMBER: 1 8522853
                  JOHN J VACCARO MD PA                                                       CHECK AMOUNT: $6,000.00
                  PO BOX 249                                                                     VENDOR ID: D04937-P933245
                  HASBROUCK HEIGHTS NJ 07604




 PATIENT: ROMAN
 MEMBER ID:       18475189'01      PATIENT ACCT NUM:   2814                                                    CLAIM NUMBER:     8122E28099.02
 PROVIDER ID:     P933245                                                                                      PROVIDER NAME:     VACCARO,JOHN
   DATE(S) DESCRIPTION OF SERVICE QTY BILLED-AMT MAXIMUM DEDUCTIBLE COPAY/COI         COB AMT      WITHHOLD    PAYMENT      PATIENT     ADJ
     OF                                              AMOUNT AMT       NS AMT                         AMT         AMT         RESP AMT    CODE
  SERVICE
 04/23/18 REVISE ULNAR NERVE AT        1   $14,225,00   $6,000,00                          $0,00       $0.00     $6,000,00       $0,00 A31 P
          ELBOW(64718)
      CLAIM 8122E28099.02 SUBTOTAL         $14,225.00   $6,000.00                          $0.00       $0.00     $6,000.00       $0.00
                                                                                  TOTAL PAYABLE TO PROVIDER      $6,000.00

 Adjustment Code Description
 A31P     The maximum amount allowed for this primary procedure has not been reduced based on the multiple procedures policy.

For the above claims please visit www.oxhp.com




 STD - PRA-222550670-5100000000017491159                            Page 3 of 6
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 10 of 42 PageID: 19




                        EXHIBIT E
    Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 11 of 42 PageID: 20

HACKENSACK UNIVERSITY MEDICAL CENTER                          MEDICAL RECORD #: 100086095
TRANSCRIBED REPORT                                            BILLING   2002435778
                                                              PATIENT NAME: AINIIIK ANAUM
                                                              AGE: 2
                                                              ADMIT DATE: 01/15/2017
                                                              DISCHARGE DATE: 01/15/2017
                                                              UNIT:              ROOM: PE3401
                                                              SVC: PER
                                                              PT STS: E

Operative Report signed by John J Vaccaro, MD at 1/11/2017 14:39
   Author: John J Vaccaro, MD         Service: (none)                    Author Type: Physician
   Filed: 1/17/2017 14:39             Date of Service: 1/15/2017 18:41   Nate Type: Operative Report
   Status: Signed                     Editor: John J Vaccaro, MD (Physician)
   Trans ID: H529582                  Trans Status: Available            Dictation Time: 1/16/2017 18:05
   Trans Time: 1/16/2017 23:25        Trans Doc Type: Operative Report


ASSISTANT:
ANESTHESIOLOGIST:
DATE: 01/15/2017
OPERATION:
1. Frontal Area: Exploration and debridement ofjagged vertically-based
avulsion-disruption of the frontal area, There was repair and reconstruction
of the frontalis muscle. There was plastic surgical repair and reconstruction
 ofthe dermis and its integument with adjacent tissue (2.5 cm),
2, Left Infraorbital Area: Exploration and debridement of second-degree
abrasion of the left infraorbital area (3 cm) with topical dressing (no
benefits of suturing),

ANESTHESIA:
   1% lidocaine with 1:100,000 dilution of epinephrine block
  4X loupe magnification
  The patient was monitored.

PRE-OP DX: Facial trauma.

POST-OP DX:
 1, Frontal area: Full-thickness jagged vertically-based oval avulsion-type
disruption of the frontal area(2 cm), There was complete disruption of the
dermis and its integument, There was complete disruption of the underlying
frontalis muscle,
2, Left infraorbital area: Second-degree abrasion of the left infraorbital
area,(3 cm)(no benefit of suturing),

HISTORY: This patient is a 2-1/2-year-old Middle Eastern female who presents
to us in the accompaniment of her mother and father, History is obtained that
 the patient fell on the outside sidewalk area, resulting in a full-thickness jagged
avulsion-disruption of the frontal area, as well as a deep second-degree
abrasion of the left infraorbital area, There was no history of any known
loss of consciousness, no nauseousness, no vomiting, no change in mental
CC: John Vaccaro, M.D.
     Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 12 of 42 PageID: 21
Operative Report signed by Jo k   J   /earth M D at 1/1 7/201 7 1 4:39(con tin tk—,
                                                                                  /
status, no history of any seizures prior to or after the injury, Upon
evaluation on presentation, the patient's mother and father requested and
agreed to a plastic surgical consultation for the involved injury and plastic
surgical treatment for the involved injury. They were fully aware of the
options and they were fully aware of the residual effects from the involved
injury, and the need for follow-up care and the ongoing healing process to
evaluate the final outcome of the surgery.

Past Medical History: The patient has no history of known medical allergies.
 No history of medical problems and the patient is up-to-date in
immunizations,

Physical Examination: Reveals a well-developed, well-nourished female, alert,
 oriented, acting appropriate for the trauma involved and appearing
neurologically intact. Examination of the head, ears, eyes, nose, neck and
oral cavity: Head is normocephalic. Examination of the frontal area reveals
a vertically based jagged oval full-thickness avulsion-disruption of the soft tissue.
Supraorbital rims reveal no evidence of any crepitus or tenderness. The
globes of the eyes are asymptomatic for complaints. Pupils reactive.
Extraocular movements within normal limits. The infraorbital area on
palpation reveals no evidence of any infraorbital step-off, no infraorbital
anesthesia, and the malar eminences are bilaterally symmetrical on palpation.
 Examination of the left infraorbital area does reveal a
second-degree abrasion, but no benefits of suturing. The nasal pyramid
externally reveals no evidence of any soft tissue injuries, no crepitus of the
 nasal bones and intranasal examination reveals no evidence of any heme and
the septum is intact. The ears are within normal limits, Temporomandibular
joints reveal no evidence of any trismus and no evidence of any subluxations.
 No change in bite and the zygomatic arches are nontender, Maxilla is stable. Maxillary and
mandibular teeth are intact. No evidence of any palatine hematoma.
Examination of the neck is supple. Chest, heart, lungs and abdomen grossly
within normal limits. Neurologically, II-XII of the patient are grossly
within normal limits. The extremities are grossly within normal limits.

After evaluating the patient, it was discussed with the patient's mother and
father at length the nature of the injury; that she will be left with a
residual effects from the involved injury, the quality of which would have to
be evaluated with time. Possibilities of bleeding, infection, hematoma,
possibilities of further surgeries in the future; the options involved, as
well as the need for follow-up care and the ongoing healing process to evaluate
 the final outcome of the surgery. They were aware that the surgical procedure would be
carried out utilizing a block anesthesia. The patient's mother and father
were fully aware of the procedure, the risks, the options, the need for
follow-up care. The consent was fully informed consent. They insisted we
Proceed. The procedure took place as follows.

PROCEDURE: The patient was premedicated, brought into the operating area,
placed on the operating table in the supine position with the head elevated
and vital signs noted and monitored to be stable. The entire face and neck
area were washed of all dried blood and the wounds re-evaluated and inspected.
CC: John Vaccaro, M,D,
     Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 13 of 42 PageID: 22
Operative Report signed b y      „ear°, MD at 1/1 7/2017 14;39 (contIntik.
  A time-out was called. The operative sites, as well as the patient
identified and all agreed upon.
The patient's face and neck area was sterilely cleaned, prepped and draped in the usual fashion and isolated in a
sterile towel field. There was induction of block anesthesia utilizing 1%
lidocaine with 1:100,000 dilution of epinephrine block of the frontal area and
 the left infraorbital area as a topical anesthetic. Allowing a 7-10 minute
period of time to elapse for both hemostasis and anesthetic effect, the
procedure was able to proceed. The left infraorbital area was debrided of
devitalized tissue and foreign bodies within the abrasion, but there was no
benefits from any suturing.
My attention then turned to the frontal area. The wound was irrigated with
saline solution and explored for foreign bodies and the wound was then
debrided of all dead and devitalized tissue with the micro iris scissors. The
 wound edges were revised as necessary with a #15 scalpel blade, followed
 by the micro iris scissors. The wound was irrigated. The skin edges
undermined with the #15 scalpel blade, followed by the micro iris scissors.
Hemostasis was obtained with the cautery and the wound copiously irrigated
with saline solution.
Reconstruction was begun by identifying and isolating
the underlying frontalis muscle, returning it to its normal anatomical
position, repairing with interrupted sutures of 6-0 Vicryl evenly spaced along
 the length of the muscle. The wound was irrigated with saline solution and
layered closure of the overlying soft tissue performed with multiple
interrupted sutures of 6-0 Vicryl in lower dermis and integumental layer,
coapting the edges in an edge-to-edge manner. The wound was again irrigated
with saline solution. Plastic repair of the upper dermis was performed with
multiple interrupted sutures of 6-0 Vicryl with buried knots, coapting the
edges in an edge-to-edge manner. The area was irrigated and meticulous
plastic repair of the upper dermis and epidermal layer took place, first by
placing interrupted sutures of 6-0 Prolene coapting the edges in an
edge-to-edge manner, followed by a running suture of 6-0 Prolene. The area
was irrigated and checked for hemostasis. The wound was then dressed with
Xeroform gauze, bacitracin ointment, Steri-Strips and a contoured dressing,
including the left infraorbital area.

The patient tolerated the entire procedure well; but immediately
postoperatively had an episode of vomiting, which the primary physician was
made aware of. The patient was to be discharged on a short course of
antibiotics, analgesics for pain, no aspirin or aspirin products.
Instructions to the parents to keep the dressings dry, clean and intact. If
the dressings come off or gets wet, clean the areas with bacitracin ointment,
no crusting or scabbing and a protective dressing. This included the left
infraorbital area and the frontal area. The benefits of a tennis sweatband were discussed. Neurological head
sheet instructions
were to be given, and a tight diet for today. Call with any problems. Call
for an office appointment to be seen within the week. Ice packs off and on
for first 48 hours and no showers to the area. Try to limit activities.

The patient's parents were fully aware of the procedure, the risks, the options,
the need for followup care. After an adequate period of time and
CC: John Vaccaro, M.D.
     Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 14 of 42 PageID: 23
 Operative Report sign ed by Joh-- V‘ __aro, M D at 1/17/201 7 14:39(conti n ue%,
                                                                                .1
 observation, the patient was able to be discharged in the accompaniment of her
 parents for follow-up in our office,

CC:      John Vaccaro, M.D.1• 1. 1 1


    Revision History

         User Key        Date/Time            User                      Provider Type   Action
       > JV1,1           1/17/2017 14:39      John J Vaccaro, MD        Physician       Sign
          -N/A]          1/17/2017.10:43      John J Vaccaro, MD        Physician       Edit
         [N/A]           1/16/2017 23:25      John J Vaccaro, MD        Physician       Edit




CC: John Vaccaro, M.D.
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 15 of 42 PageID: 24




                         EXHIBIT F
  Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 16 of 42 PageID: 25
                                    IN J. VACCARO,,M,D.,                      F

                                      Diplomate American Board of Plastic Surgery
                $                     Fellow of the American College of Surgeons                               •
                                                                                                           Member
          Member
                                                                                                    AMERICAN SOCLIfTY OF
    A merican Society (or                                                                             PLASTIC SURCkONS
Aesthetic Plastic Surgery, Inc,


                                         ASSIGNMENT OF BENEFITS

                                          LTD, POWER OF ATTORNEY

I irrevocably assign to you, my medical provider, all of my rights and benefits under my insurance contract
a nd/or any employee welfare benefit plan for payment for services rendered to me, including but not
limited to all of my rights under "ERISA" applicable to the medical services at issue. I authorize you to file
Insurance claims on my behalf for services rendered to me and this specifically includes filing
arbitration/litigation in your name on my behalf against the PIP carrier/health care carrier, I Irrevocably
a uthorize you to retain an attorney of your choice on my behalf for collection of your bills. I direct that all
reimbursable medical payments go directly to you, my medical provider. I authorize and consent to your
acting on my behalf in this regard and In regard to my general health insurance coverage and I specifically
a uthorize you to pursue any administrative appeals conducted pursuant to "ERISA".

In the event the insurance carrier responsible for making medical payments In this matter does not accept
my assignment, or my assignment is challenged or deemed Invalid, I execute this limited/special power of
attorney and appoint and authorize your collection attorney as my agent and attorney to collect payment
for your medical services directly against the carrier in this case, In my name, including filing arbitration
demand or lawsuit. I specifically authorize that attorney to file directly against that carrier in my name or in
your name as a medical provider rendering services to me and designate your collection attorney as my
attorney in fact, I further grant limited power of attorney to you as my medical provider to receive and
collect directly from the Insurance carrier money due you for services rendered to me In this matter, and
hereby instruct the insurance carrier to pay you directly any monies due you for medical services you
rendered me. I authorize you and or your attorney to receive from my insurer, immediately upon verbal
request, all information regarding last payment made by said Insurer on my claim, including date of
payment and balance of benefits remaining,

I authorize you and or your attorney to obtain medical information regarding my physical condition from
any other health care provider, including hospitals, diagnostic centers, etc., and I specifically authorize such
health care provider(s) to release all such information to you about me, including medical reports, X-ray
reports, and any other report or information regarding my physical condition,

Dated:        7 /
                                                      Patient's Signature
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 17 of 42 PageID: 26




                        EXHIBIT G
                     Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 18 of 42 PageID: 27

                                                                                                                                          United Healthcare                                                                                                cc
                                                                                                                                                                                                                                                           tu
                                                                                                                                          P 0 Box 740800
                                                                                                                                                                                                                                                           cc
    HEALTH INSURANCE CLAIM FORM                                                                                                                                                                                                                            a
                                                                                                                                          Atlanta                                GA            30374
                                                                                                                                                                                                                                                           a
    APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE(NUCC)02/12




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     1. MEDICARE                 MEDICAID               TRICARE                 CHAMPVA           GROUP              FECA                             OTHER la. INSURED'S I.D. NUMBER                                        (For Program In Item 1)
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                                                                                                                              (Ir ) 925801432
    2. PATIENT'S NAME (Last Name, First Name, Middle Initial)                              3. PATIENT'S IRITH DyAyTE      SEX        4. INSURED'S NAME (Last Name, First Name, Middle Initial)

    VIA Anaum                                                                                liiiiiniPit                       MrJ FQ Aso                           Mohammad
    5.PATIENT'S ADDRESS(No., Street)                                                       6. PATIENT RELATIONSHIP TO INSURED                               7. INSURED'S ADDRESS (No., Street)
                                                                                               Self1:3 Spouse             Child, Other
    INIMINIMBO




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     CITY                                                                       STATE & RESERVED FOR NUCC USE                                                CITY                                                                         STATE

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     ZIP CODE                .                  TELEPHONE (Include Area Code)                                                                               ZIP CODE                                           TELEPHONE (Include Area Code)

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     9. OTHER INSURED'S NAME (Last Name, First Name, Middle Initial)                         10. IS PATIENT'S CONDITION RELATED TO:                             11. INSURED'S POLICY GROUP OR FECA NUMBER
                                                                                                                                                           43W9834
     a. OTHER INSURED'S POLICY OR GROUP NUMBER                                               a. EMPLOYMENT?(Current or Previous)                             a,INSURED'S DATE OF BIRTH                                             SEX
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     b. RESERVED FOR NUCC USE                                                                b. AUTO ACCIDENT?
                                                                                                                                  PLACE (Slate) b. OTIHER CLAIM ID (Designated by NUCC)
                                                                                                  •    DYES                    ®NO                   1

     a RESERVED FOR NUCC USE                                                                 c. OTHER ACCIDENT?                                              c. INSURANCE PLAN NAME OR PROGRAM NAME

                                                                                                       0      YES             ENO                           Jnited      Healthcare
     d.INSURANCE PLAN NAME OR PROGRAM NAME                                                   10d. CLAIM CODES(Designated by NUCC)                            d. IS THERE ANOTHER HEALTH BENEFIT PLAN?


                                READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM.
                                                                                                                                                                      n   YES              NO              It yes, complete items 9,9a,and 9d.
                                                                                                                                                             13. INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I authorize
     12. PATIENT'S OR AUTHORIZED PERSON'S SIGNATURE I authorize the elease of any medical or other Information necessary                                         payment of medical benefits to the undersigned physician or supplier for
    • to process this claim. I also request payment of government benefits either o myself or to the party who accepts assignment                                services described below.
         below.




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        sioNEDSignature_Qn_Elie                                                                       DATE06 11         19                                            SIGNED .Signature On File
     14.gATE 0g8UIRREVT, ILLNESS,INJURY,or PREGNANCY(LMP) 15. OTHER DATIE                                                                                        16. DATES terN 1-DrirLEN WORK IN CURRENT OCCUPATION




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     17. NAME OF REFERRING PROVIDER OR OTHER SOURCE                                   17a.                                                                      18. HOSPITALIZATION DATES RELATED TO CURRENT SERVICES
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                                                                                      17b. NPI                                                                      FROM      1      I             TO     i
     19. ADDITIONAL CLAIM INFORMATION (Designated by NUCC)                                                                                                       20. OUTSIDE LAB?                                     $ CHARGES
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     21. DIAGNOSIS OR NATURE OF ILLNESS OR INJURY Relate A-L to service line below (24E)                            lac)Ind.
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      1. 1       •                               J. I                            K. I                          L I




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     24. A.        DATE(S)OF SERVICE                            B.    C.    D. PROCEDURES,SERVICES,OR SUPPLIES                                    E.                      F.                        G.           H.    I.               J.
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     25. FEDERAL TAX I.D. NUMBER                         SSN EIN       26. PATIENT'S ACCOUNT NO.                27.#prigrfdArui244154T?                          28. TOTAL CHARGE                      29. AMOUNT PAID             90. Rsvd for NUCC Use
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    22 2550670                                           DO            2578
     31. SIGNATURE OF PHYSICIAN OR SUPPLIER                            32. SERVICE FACILITY LOCATION INFORMATION                                                 33. BILLING PROVIDER INFO & PH N (
                                                                                                                                                                                                    732 934 2100
         INCLUDING DEGREES OR CREDENTIALS
       (I certify that the statements on the reverse                   Hackensack University Medical Center                                                      John J Vaccaro M D P A
         apply to this bill and are made a part thereof.)
                                                                       30 Prospect Avenue                                                                        202 Route 37 West Suite 1
                                                              Hackensack NJ 07601 1914                                                                           Toms River NJ 08755 8055
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     NUCC        Instruction         Manual available at: www nucc.org            PLEASE PRINT OR                                          TYPE                                 APPROVED OMB-0938-1197 FORM 1500(02-12)
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 19 of 42 PageID: 28




                        EXHIBIT H
            Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 20 of 42 PageID: 29
                                                                                8B-9531'01'000002-PM-17151-110'C04FIC-1 FOPS

                     UnitedHealthcare Insuranc,, .-ompany
                     GREENSBORO SMALL GROUP
                     PO BOX 740800
                                                                             STD - PRA             UnitedHealthcard
                     ATLANTA GA 30374-0800
                     PHONE: 1.877-842-3210                       PROVIDER
                                                             REMITTANCE ADVICE
                                                                                                                  DATE: 05/31/17
                                                                                                                    TIN: 222550670
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                     JOHN J VACCARO MD PA                                                                   PAYEE NAME: JOHN J VACCARO MD PA
                     J OHN J VACCARO MD                                                                  TRACE NUMBER: OK 74749483
                     PO BOX 249                                                                                PAYMENT: $0.00
                     HASBROUCK HEIGH NJ 07604                                                            GROUP NUMBER: 8W9834
                                                                                                           GROUP NAME: FW-BCYU1S00 ADP
                                                                                                                         TOTALSOURCE




  PATIENT: ANAUM AIM=(CH)
    SUBSCRIBER ID:         A 925801432                SUBSCRIBER NAME:      MOHAMMAD AMA                    CLAIM NUMBER:             3297782721 0277204573
    CLAIM DATE:            01/15/17-01/15/17          DATE RECEIVED:       04/10/17                         PRODUCT:                  CHOYC+
    REND PROV              1861463267                 REND PROV:           1. J VACCARO MD

      PATIENT        PATIENT ID     AUTH/REF        DRG     DRG WEIGHT CLAIM CHARGE CLM ADJ AMT           GRP    CLM CLAIM PAYMENT     PATIENT
      CONTROL                        N UMBER                              AMOUNT                          CD     ADJ    AMOUNT      RESPONSIBILITY
      NUMBER                                                                                                     RSN
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  2578                                                                      $6,964.00                                         $0.00       $6,964.00


                                                                             SERVICE LINE DETAIL(S)
  LINE CTRL# DATES OF SUB   ADJ  MOD            REV    UNITS     ADJ QTY   CHARGE         AMOUNT           ADJ AMOUNT       GRP CLM    PAYMENT       REMARK/
             SERVICE PROD/ PROD/                                                          ALLOWED                           CD ADJ     AMOUNT         NOTES
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   1 6104   01/15/17 -            13131                      1              $6,464,00         $738,89            $738,89 PR     1            $0.00 CO
            01/15/17
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   1 6105   01/15/17 -            99284 25                   1                $500,00         $363,62            $363,62 PR    1             $0.00 CO
            01/15/17
                                                                                                                 $136,38 PR    45
  CLAIM# 3297782721 0277204573                                SUBTOTAL      $6,964,00        $1,102.61          $6,964.00                    $0.00

  PAYMENT OF BENEFITS HAS BEEN MADE IN ACCORDANCE WITH THE TERMS OF THE MANAGED CARE SYSTEM.
                                                                                                         TOTAL PAYABLE TO PROVIDER           $0,00

  NOTES
  PR1             PATIENT RESPONSIBILITY - DEDUCTIBLE AMOUNT
  PR45            PATIENT RESPONSIBILITY - CHARGE EXCEEDS FEE SCHEDULE/MAXIMUM ALLOWABLE OR
                  CONTRACTED/LEGISLATED FEE ARRANGEMENT.
  CO              AN OUT-OF-NETWORK PROVIDER OR FACILITY PROVIDED THESE SERVICES. THE CLAIM WAS PROCESSED
                  USING YOUR NETWORK BENEFITS. YOU MAY BE RESPONSIBLE FOR PAYING THE DIFFERENCE BETWEEN WHAT
                  THE FACILITY OR PROVIDER BILLED AND WHAT WAS PAID. THE NOT COVERED AMOUNT MAY NOT APPLY TO
                  YOUR ANNUAL OUT-OF-POCKET MAXIMUM.

THE MEMBER, PROVIDER, OR AN AUTHORIZED REPRESENTATIVE MAY REQUEST RECONSIDERATION OR APPEAL THE DECISION BY SUBMITTING COMMENTS,
DOCUMENTS OR OTHER INFORMATION TO UNITEDHEALTHCARE, NETWORK PROVIDERS SHOULD REFER TO THE ADMINISTRATIVE GUIDE FOR CLAIM
RECONSIDERATION OR APPEAL INFORMATION, IF YOU ARE A NETWORK PROVIDER APPEALING A CLINICAL OR COVERAGE DETERMINATION ON BEHALF OF
A MEMBER, OR A NON-NETWORK PROVIDER APPEALING A DECISION ON BEHALF OF A MEMBER, FOLLOW THE PROCESS FOR APPEALS IN THE MEMBER'S
BENEFIT PLAN DOCUMENT. DECISIONS ON APPEALS MADE ON BEHALF OF MEMBERS WILL BE COMPLETED IN 30 DAYS OF SUBMISSION OR WITHIN THE
TIMEFRAME REQUIRED BY LAW,

UNITEDHEALTHCARE IS IMPROVING SERVICE TO YOU BY ADOPTING ELECTRONIC PAYMENTS & STATEMENTS(EPS) AS A STANDARD WAY TO PAY CLAIMS.
EPS WILL DRAMATICALLY REDUCE THE TIME AND EFFORT YOUR ORGANIZATION SPENDS ON ADMINISTERING PAPER CHECKS AND EXPLANATION OF
BENEFITS. GET A HEAD START AND ENROLL TODAY BY SELECTING THE ELECTRONIC PAYMENTS & STATEMENTS LINK FOUND ON THE HOME PAGE
WWW.UNITEDHEALTHCAREONLINECOM OR CONTACT US AT 1-866-UHC-FAST (1-866.842-3278), OPTION 5, FOR MORE INFORMATION ABOUT OUR FREE

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                         EXHIBIT I
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                                    abiliiiineW




  Patient Information
    Patient Name                       MRN               Sex               DOB
    Sophie 11 Bum                      6899017           Female            1/25/2002

  Operative Report signed by John J Vaccaro, MD at 1/1/2018 14:54
    Author: John J Vaccaro, MD         Service:(none)                       Author Type: Physician
    Filed: 1/1/2018 14:54               Date of Service: 12/30/2017  0:00   Status: Signed
    Editor: John J Vaccaro, MD (Physician)                                  Trans ID: H1580012
    Dictation Time:    Trans Time:     Trans  Doc  Type:  Trans Status: Available
    12/31/2017         1/1/2018 3:36 Operative
    19:43                               Report
    SURGEON: John J. Vaccaro, M.D.
    CO-SURGEON: N/A
    ASSISTANT: N/A
    ANESTHESIOLOGIST:
    DATE: 12/30/2017

    OPERATION: Facial Trauma
       1) Upper Lip: Exploration and debridement of avulsion loss of the
    substance of the right upper lip (approximately 20%), extending through the
    white aspect; through the vermilion border; through the red aspect's
    mucocutaneous roll; and extending through the oral vestibule. There was
    repair and reconstruction of the orbicularis oris muscle of the white aspect.
     There was repair and reconstruction of the dermis and integument of the white
     aspect with adjacent tissue (3 cm). There was repair and reconstruction of the red
    aspect's
    m ucocutaneous roll, with inclusion of the vermilion border, utilizing a right
    laterally based mucocutaneous flap (4 x 3 cm).
       I ntraorally, there was repair and reconstruction of the avulsion defect with loss of
    substance of the
    vestibular mucosa, utilizing a vestibuloplasty of the orbicularis oris muscle
    and overlying vestibular mucosa.
        2) Nose: Puncture wounds of the right alar of the nose (no benefits of suturing).
       3) Right Hand: Puncture wounds of the volar metacarpal area of the hand (no
    benefits of suturing).

    ANESTHESIA:
       1% lidocaine with 1:100,000 dilution of epinephrine block
      4X loupe magnification
       intravenous antibiotics administered arid completed preoperatively
      The patient was monitored.

    PRE-OP DX: Complex facial soft tissue trauma.

    POST-OP DX: Facial Trauma:
      1)Upper Lip: Complex avulsion of the right upper lip with loss of
    substance (3 x 2 x 2 cm), extending through the white aspect, through the
    vermilion border, through the red aspect's mucocutaneous roll, and extending



BegetSophiele(MR # 6899017)Printed by John J Vaccaro, MD [JV1431] at 1/2/18 1... Page 1 of 5
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    through the oral vestibule. There was avulsion loss of the dermis and
    integument of the white aspect and avulsion loss of the underlying orbicularis
     oris muscle of the white aspect. There was avulsion of the architecture of
    the vermilion border. There was avulsion of the dermis and integument of the
    red aspect's mucocutaneous roll and the underlying orbicularis oris muscle's
    red aspect's mucocutaneous roll.
      Intraorally, there was avulsion of the vestibular mucosa, with avulsion and loss of
    the underlying vestibular mucosa and the orbicularis oris muscle.
       2) Nose: Puncture wounds of the right alar of the nose (no benefits of suturing).
       3) Right Hand: Puncture wounds of the volar metacarpal area of the hand (no
    benefits of suturing).

    HISTORY: This patient is a 15-year-old female, who presents to us in the
    accompaniment of her mother and father. The history is obtained from the patient that
    she was savagely attacked by an animal within the confines of an old friend's
    home, resulting in loss of substance of the right upper lip and injuries to the nose and
    right hand. There was no history of any head trauma and no history of any eye trauma.
    The patient did
    incur puncture wounds of the volar surface of the right hand and puncture
    wounds of the nose. Upon evaluation and presentation, the patient's mother
    and father requested and agreed to a plastic surgical consultation for the
    involved injury and plastic surgical treatment for the involved injury. They
    were fully aware of the options. They were fully aware of the residual effect
     from the involved injury, the need for followup care, and the ongoing healing
     process to evaluate the final outcome of the surgery.

    PAST MEDICAL HISTORY: The patient has no history of known medical allergies,
    no history of medical problems, and the patient is up-to-date in
    immunizations. Last menstrual period was 3 weeks previously. The patient's
    parents and the patient deny pregnancy, and she denies the use of birth
    control pills or birth control device,

    PHYSICAL EXAMINATION: General: She Is a well-developed, well-nourished
    female, alert, oriented, acting appropriately for the trauma involved and
    appearing neurologically intact. Head, Ears, Eyes, Nose, Neck, and Oral
    Cavity: Examination of the head is normocephalic. Examination of the ears is
     within normal limits. Temporomandibular joints reveal no evidence of any
    trismus and no evidence of any subluxation. There is no change in bite, and
    the zygomatic arches are nontender. Examination of the supraorbital rims
    reveal no evidence of any soft tissue injuries. The globes to the eyes are
    asymptomatic
    for complaints. The pupils are reactive. Extraocular movements are within normal
    limits.
    Examination of the upper lip reveals a large soft tissue defect with loss of
    substance, extending through the white aspect, the vermilion border, the red
    aspect's mucocutaneous roll, and extending In an oblique direction through the
     oral vestibule, with loss of substance. Examination of the nasal pyramid
    externally reveals puncture wounds of the right lateral alar. On palpation,
    there is no evidence of any crepitance, and intranasal examination reveals no



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    evidence of any heme, and the septum is Intact. The maxilla is stable.
    Maxillary and mandibular teeth are intact. There is extension of the loss of soft
    tissue through the oral vestibule. No evidence of any palatine
    hematoma. Examination of the neck is supple. Chest, Heart, Lungs, and
    Abdomen: Grossly within normal limits. Neurological: 11-XII, the patient is
    grossly within normal limits. Extremities: Examination of the patient's
    right hand reveals puncture wounds on the volar surface of the right hand at
    the distal metacarpal area. There was full flexion and extension without pain
    and the neurovascular bundles were intact. There is no benefit of any suturing in this
    area
    other than as discussed that topical treatment would be performed.
    After evaluating the patient, it was discussed with the patient's mother and
    father at length the nature of the injuries, the fact that she would be left
    with residual effects from the involved injuries, the quality of which would
    have to be evaluated with time. The possibilities of bleeding, infection,
    hematoma, possibilities of further surgeries in the future, the options
    involved, as well as the need for followup care and the ongoing healing process
    to evaluate the final outcome of the surgery. They were aware that the surgical
    procedure would be taking place utilizing a block anesthesia. We answered all
     of the patient's mother's and father's questions concerning the surgical
    procedure. The consent was a fully informed consent. They insisted that we
    proceed, and the procedure took place as follows.

    DESCRIPTION OF PROCEDURE: Intravenous was started. Intravenous antibiotics
    were administered and completed. The patient was brought into the operating
    area and placed on the operating room table with the head elevated and vital
    signs noted and monitored to be stable. The mouth and face were washed of all
     dried blood and heme. The vermilion border in what normally would be its
    position was carefully outlined with a tattooing marking pencil, and the
    proposed musculocutaneous flap reconstruction of the red aspect was carefully
    outlined from its lateral component as well as the oral vestibule. Vital
    signs were noted and monitored to be stable. A time-out was called. The
    operative site as well as the patient were identified and all agreed upon.
    The patient's face was sterilely cleaned, prepped and draped in the usual
    fashion, and isolated in a sterile towel field, There was a maxillary block
    anesthesia utilizing 1% lidocaine with 1:100,000 dilution of epinephrine
    block. Allowing a 7-10 minute period of time to elapse for both hemostasis as well as
     the anesthetic effect, the wound was copiously irrigated with saline solution
     and explored. Careful exploration of the wound failed to reveal any evidence
     of any foreign bodies. The wound was then debrided of all dead and
    devitalized tissue with the micro iris scissors, The wound edges of the white
     aspect were revised as necessary with a #15 scalpel blade, followed by the
    micro iris scissors. The wound was irrigated, and the skin edges of the white
     aspect were undermined with the #15 scalpel blade, followed by the micro iris
     scissors. Meticulous hemostasis was obtained with the cautery. The wound
    was copiously irrigated with saline solution.
    Reconstruction of the white aspect was then begun by identifying and isolating the
    underlying orbicularis




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     oris muscle of the white aspect. The musculature layer was then advanced and
     repaired with
     interrupted mattress sutures of 6-0 Vicryl, The wound was again irrigated
     with saline solution. A layered closure of the overlying soft tissue
     aspect of the white aspect was performed with interrupted sutures of 6-0
     Vicryl in the lower dermis and integumental layer, coapting the edges on an
     edge-to-edge manner. The upper dermis was then repaired with interrupted
     sutures of 6-0 Vicryl with buried knots, coapting the edges on an edge-to-edge
      manner. The plastic repair of the upper dermis and epidermal layer of the
     white aspect was repaired with interrupted sutures of 7-0 nylon, evenly spaced
      along the length of the wound, and then 7-0 nylon in a running fashion,
     meticulously coapting the edges on an edge•to-edge manner. Upon completion of
      this then, the area of the white aspect was then irrigated.
     My attention then turned to the red aspect's mucocutaneous roll, the soft
     tissue defect and loss, as well as the vermilion border. Utilizing a micro
     iris scissors, the orbicularis oris muscle and the overlying dermis and
     integument were then undermined and then released from the commissure of the
     right upper lip. With the release of the muscle and development of the
     musculocutaneous flap, the musculature layer was then repaired and coapted
     with the medial component with interrupted sutures of 6-0 Vicryl. The lower
     dermis and integumental layer of the red aspect were repaired with interrupted sutures
     of 6-0
     Vicryl with buried knots. The upper dermis and epidermal layer of the red
     aspect's mucocutaneous roll was then repaired first with interrupted sutures
     of 6-0 nylon, coapting the edges on an edge-to-edge manner and also restoring the
     Vermillion border. The area was irrigated and checked for hemostasis.
     My attention then turned towards the intraoral component. Here, the defect of
      the vestibular mucosa muscle was undermined and released from tethering at
     the level of the sulcus. This was then advanced and repaired as a layered
     closure of the orbicularis oris muscle and the overlying vestibular mucosa
     with interrupted sutures of 5-0 Vicryl. Upon completion of this, the face and mouth
     were washed of all dried blood and heme.
     The puncture wounds of the right alar were then scrubbed clean, but no
      benefits of any suturing. All of the wounds were then dressed with
     bacitracin ointment and a contoured dressing of the upper lip to relieve the
     pressure.
     The volar surface of the right hand was scrubbed clean with
     Betadine solution and topically dressed.
     All of the procedure went entirely well, without any problems or difficulties.

     Postoperatively: the patient was to be continued on a course of antibiotics,
     analgesics for pain, no aspirin or aspirin products, Peridex mouthwash,
     mechanical soft diet, no straws, and no lifting, bending, stooping, or
     straining. All of the areas are to be kept lightly coated with bacitracin
     ointment, no crusting or scabbing. Call if there are any problems. Signs of
     infection were discussed. No hot drinks and the benefits of ice cream and a course of
     antibiotics were discussed.Call for an office appointment to be seen within
     the week.




B       Sophie M(MR # 6899017)Printed by John J Vaccaro, MD [JV1431] at 1/2/18 1... Page 4 of 5
    Case 2:19-cv-19664-KSH-CLW
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      The patient's mother and father were fully aware of the procedure, the risks, the
      options,
      and the need for followup care. After an adequate period of time in observation, the
      patient was able to be
      discharged in the accompaniment of her mother and father for followup in our office.

      CC: John J. Vaccaro, M.D.

      Electronically signed by John 1 Vaccaro, MD at 1/1/2018 14:54
      Revision History

    Media
      Electronic signature on 12/29/2017 23:36 father signed


    Activity Date
      Activity Date
      Dec 30,2017

    Routing History Y.




I        Sophie#(MR # 6899017)Printed by John J Vaccaro, MD [JV1431] at 1/2/18 1... Page 5 of 5
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 27 of 42 PageID: 36




                         EXHIBIT J
   Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 28 of 42 PageID: 37
                                  J AN J. VACCARO, M.D., P.A.,

                                      Diplomate American Board of Plastic Surgery
                •                     Fellow of the American College of Surgeons
          Member                                                                                          Member
    A merican Society fur                                                                           AMUICAN SOCIETY or
Aesthetic Plastic Surgeiy, Inc.                                                                      PLASTIC SURCkONS


                                         ASSIGNMENT OF BENEFITS

                                          LTD. POWER OF ATTORNEY

I irrevocably assign to you, my medical provider, all of my rights and benefits under my insurance contract
and/or any employee welfare benefit plan for payment for services rendered to me, including but not
limited to all of my rights under "ERISA" applicable to the medical services at issue. I authorize you to file
insurance claims on my behalf for services rendered to me and this specifically includes filing
arbitration/litigation in your name on my behalf against the PIP carrier/health care carrier. I irrevocably
authorize you to retain an attorney of your choice on my behalf for collection of your bills. I direct that all
reimbursable medical payments go directly to you, my medical provider. I authorize and.consent to your
acting on my behalf in this regard and in regard to my general health insurance coverage and I specifically
authorize you to pursue any administrative appeals conducted pursuant to "ERISA".

In the event the insurance carrier responsible for making medical payments In this matter does not accept
my assignment, or my assignment is challenged or deemed invalid, I execute this limited/speclal power of
attorney and appoint and authorize your collection attorney as my agent and attorney to collect payment
for your medical services directly against the carrier in this case, In my name, including filing arbitration
demand or lawsuit. I specifically authorize that attorney to file directly against that carrier in my name or in
your name as a medical provider rendering services to me and designate your collection attorney as my
attorney in fact. I further grant limited power of attorney to you as my medical provider to receive and
collect directly from the insurance carrier money due you for services rendered to me in this matter, and
hereby instruct the tnsu'rance carrier to pay you directly any monies due you for medical services you
rendered me.. I authorize you and or your attorney to receive from my insurer, immediately upon verbal
request, all Information regarding last payment made by said insurer on my claim, including date of
payment and balance of benefits remaining.

I authorize you and or your attorney to obtain medical information regarding my physical condition from
any other health care provider, including hospitals, diagnostic centers, etc., and I specifically authorize such
health care provider(s) to release all such information to you about me, including medical reports, X-ray
reports, and any other report or information regarding my physical condition.

Dated:                       1
                                                     Patient's Signature
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 29 of 42 PageID: 38




                        EXHIBIT K
                     Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 30 of 42 PageID: 39
•El1 • :1
E1   c
    HEALTH INSURANCE CLAIM FORM
                                                                                                                         United HealthCare
                                                                                                                         PO Box 29130


                                                                                                                         Hot Springs                                  AR       71903
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    APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE(NUCC)02/12




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       (Medlcare#) ❑(Medlcald#) II(IDN/DoD#)                      El(MemberIMO               (ID#)       1111 W)                      k-1(ID#    1259851101
    2. PATIENT'S NAME(Last Name, First Name, Middle Initial)                         3. PADENT'SRIRITH DATE                      SEX               4. INSURED'S NAME(Last Name, First Name, Middle Milled)
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    3211111.)Sophie
     5.PATIENT'S ADDRESS(No., Street)                                                8. PATIENT RELATIONSHIP TO INSURED                            7.INSURED'S ADDRESS(No.,Street)

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     CITY                                                                 STATE
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     9.OTHER INSURED'S NAME (Last Name,First Name,Middle Initial)                    10.IS PATIENT'S CONDITION RELATED TO:                         11.INSURED'S POLICY GROUP OR FECA NUMBER
                                                                                                                                                  GJ1037

     a.OTHER INSURED'S POLICY OR GROUP NUMBER                                        a.EMPLOYMENT? (Current or Previous)                           a.INSURED'S DATE OF BIRTH                                               SEX
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                                         •                                                       0YES              M NO                                                                                       LA 0                F X
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     b.RESERVED FOR NUCC USE                                                         b.AUTO ACCIDENT?                     PLACE (Stale) b.OTHER CLAIM ID (Designated by NUCC)
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     c.RESERVED FOR NUCC USE                                                         c.OTHER ACCIDENT?                                  c.INSURANCE PLAN NAME OR PROGRAM NAME
                                                                                                 111 YES ©NO                                       Jnited HealthCare

     d.INSURANCE PLAN NAME OR PROGRAM NAME                                           10d.CLAIM CODES(Designated by NUCC}                           d.IS THERE ANOTHER HEALTH BENEFIT PLAN?

                                                                                                                                                            IDYES         0NO                   f/ yes,complete Items 9,9a,and 9d.
                                                                                                                                                   13.INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I authorize
                                 READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM.
     12.PATIENT'S OR AUTHORIZED PERSON'S SIGNATURE I authorize the etease of any medical or other Information necessary                               payment of medical benefits to the undersigned physician or supplier for
        to process this claim.I also request payment of government benefits either to myself or to the party who accepts assignment                   services described below.
        below.




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                                                                                                                                                                      Signature On File
        smEoSignature OnTile                                                                   DATE 06 11 19                                                SIGNED
         3ATE OFF CURRENT ILLNESS,INi.IURY,or PREGNANCY (LMP) 15.OTHER DATE
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     17.NAME OF REFERRING PROVIDER OR OTHER SOURCE            17a.                                                                                 18.HOSPITALIZATION DATES RELATED TO CURRENT SERVICES
                                                                   ____                                                                                     MM I DD I      YY            MM I DD 1    YY
           I                                                  17b. NPI                                                                                FROM      I      I             TO
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     19.ADDITIONAL CLAIM INFORMATION (Designated by NUCC)                                                                                          20.OUTSIDE LAB?                  $ CHARGES
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     21.DIAGNOSIS OR NATURE OF ILLNESS OR INJURY Relate Ast.to service line below(24E)                   ICD Ind.1)
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      E. I                               F. I                                  G I                                 H I
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     24. A.         DATE(S)OF SERVICE                    B.    C.        D. PROCEDURES,SERVICES,OR SUPPLIES                                E.                   F.                      G.            H.   I.                   J.
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     26.FEDERAL TAX I.D.NUMBER                     SSN EIN        26.PATIENT'S ACCOUNT NO.              27.NpaLulltilitIT?                             28.TOTAL CHARGE                        29.AMOUNT PAID               30.Rsvd for NUCC Use

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     22 2550670                                 ❑                 2753                                  ❑
                                                                   32.SERVICE FACILITY LOCATION INFORMATION
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     31.SIGNATURE OF PHYSICIAN OR SUPPLIER                                                                                                                                                                 ( 732 9)4 2100
        INCLUDING DEGREES OR CREDENTIALS
        (I certify that the statements on the reverse             Hackensack University Medical Center                                                 John J Vaccaro M D P A
        apply to this bill and are made a part thereof.)                                                                                               202 Route 37 West Suite 1
                                                                  30 Prospect Avenue
                                                                  Hackensack NJ 07601 1914                                                             Toms River NJ 08755 8055
     John J Vaccaro M D                      06 11 19             a.                     lb                                                             L                                      b.
     SIGNED                                    DATE                  1609862036          1                                                                  1730372665
     NUCC Instruction Manual available at: www nucc.org                                        PLEASE PRINT OR TYPE                                                  APPROVED OMB-0938-                                                  (02-
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 31 of 42 PageID: 40




                         EXHIBIT L
            Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 32 of 42 PageID: 41

                 Oxford Health Plans NY Inc
                 UnitedHealthcare - Oxford
                 4 Research Drive
                                                                STD - PRA              UnitedHealthcare
                                                                                                                 Oxford
                 Shelton CT 06484
                 Phone: 1-800-666-1353
                                                     PROVIDER
                                                 REMITTANCE ADVICE
                                                                                           CHECK DATE: 02/05/18
                                                                                                   TIN: 222550670
                                                                                          VENDOR NAME: JOHN J VACCARO MD PA
                                                                                         CHECK NUMBER: 1 5938217
                 JOHN J VACCARO MD PA                                                    CHECK AMOUNT: $5,115.00
                 PO BOX 249                                                                  VENDOR ID: D04937-P933245
                 HASBROUCK HEIGHTS NJ 07604




 PATIENT: SOPHIE
 MEMBER ID:          12596511.03   PATIENT ACCT NUM: 2753                                                  CLAIM NUMBER:     8011E29267
 PROVIDER ID:        P933245                                                                               PROVIDER NAME:    VACCARO,JOHN
   DATE(S) DESCRIPTION OF SERVICE QTY BILLED AMT MAXIMUM DEDUCTIBLE COPAY/COI     COB AMT      WITHHOLD    PAYMENT      PATIENT     ADJ
      OF                                            AMOUNT     AMT    NS AMT                     AMT          AMT      RESP AMT CODE
   SERVICE
 1 2/29/17 REPAIR OF WOUND OR        1 $26,006.00    $4,254.00                         $0.00       $0.00     $4,254.00     $0.00 A31 P
             LESION(13152)
 1 2/29/17 ER DEPART VISIT           1     $861.00     $861.00                         $0,00       $0,00      $861.00      $0.00
             HIGH/URGE SEVER
           (99284-25)
        CLAIM 8011E29267 SUBTOTAL       $26,867.00   $5,115.00                         $0.00       $0,00     $5,115,00     $0.00
                                                                              TOTAL PAYABLE TO PROVIDER      $5,115.00

 Adjustment Code Description
 A31 P    The maximum amount allowed for this primary procedure has not been reduced based on the multiple procedures policy,

For the above claims please visit www.oxhp.com




1 STD - PRA-222550670-5100000000013092573                       Page 3 of 6
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 33 of 42 PageID: 42




                        EXHIBIT M
    Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 34 of 42 PageID: 43
• Zatija Hamidi(MR # 10327 3)DOB:



  Patient Information
    Patient Name                      MRN              Sex             DOB
    Hamid R Zarei                     103275563        Male            *MOM

  Operative Report signed by John J Vaccaro, MD at 2/2/2018 14:07
    Author: John J Vaccaro, MD         Service:(none)                    Author Type: Physician
    Filed: 2/2/2018 14:07               Date of Service: 1/31/2018 0:00 Status: Signed
    Editor: John J Vaccaro, MD (Physician)                               Trans ID: H1583792
    Dictation Time: Trans Time:        Trans Doc Type: Trans Status: Available
    2/1/2018 17:00 2/2/2018 5:32 Operative
                                        Report
    SURGEON: John J. Vaccaro, M.D.
    CO-SURGEON: N/A
    ASSISTANT: N/A
    ANESTHESIOLOGIST:
    DATE: 01/31/2018.

    OPERATION: Right Hand/Index, Finger: Exploration and debridement of complex
    stellate crush traction injury of the dorsum of the right index finger,
    extending through the radial side (extensor zones 1 and 2). There was
    reduction of the bony fragment with stabilization. There was repair of the
    shredded extensor tendon. There was repair of the radial digital nerve,
    There was repair of the dermis and its integument (9 cm). There was insertion
     of K-wire fixation, There was protective splinting.

    ANESTHESIA:
       1% lidocaine plain supplemented by 0.5% Marcaine plain
      4X loupe magnification utilized
       K-wire insertion
       intravenous antibiotics administered,
      TOURNIQUET TIME: 1-1/2 hours plus 1/2 hour

    PRE-OP DX: Complex trauma of the right index finger secondary to a crush
    traction injury.

   POST-OP DX: Right Hand/Index Finger: Complex stellate oblique angular
   avulsion and disruption of the dorsum of the right index finger, extending
   through the radial surface secondary to a crush traction injury (extensor
   zones 1 and 2), There was disruption of the dermis and its integument with
   devitalization (7 cm). There was disruption of the radial digital nerve,
   artery, and vein, There was shredding of the extensor tendon and displaced
   bony fragments,

   HISTORY: This patient is a 58-year-old ambidextrous, although more right-hand
    dominant, male, who presents with a crush traction injury to the right index
   finger secondary to a heavy metal desk that he was moving at work that fell on
    his right index finger,




     Hamid0(MR # 103275563)Printed by John J Vaccaro, MD [JV1431] at 2/5/18 1... Page 1 of 4
    CaseHamiddli(MR
         2:19-cv-19664-KSH-CLW   Document 1-1 Filed 10/31/19 Page 35 of 42 PageID: 44
                    # 1032, 13) DOB;


      Upon evaluation by the primary physician, a plastic surgical consultation was
      requested.
      The patient agreed to the consultation as well as the treatment for the involved injury.
      He was fully
      aware of the options. He was fully aware over multiple times of the extent
      and the severity of the injury, including the possibilities of sympathetic
      reflex dystrophy, need for occupational and physical therapy, and extension
      lag was explained to him as well as possibility of further surgery, including
      fusion of the DIP joint.

      PAST MEDICAL HISTORY: There is no history of known medical allergies. He has
      a history of hypertension. His medication is Aprovel, and he was updated on
      his tetanus immunizations today.

      PHYSICAL EXAMINATION: General: A well-developed, well-nourished male, alert,
       oriented, acting appropriately for the trauma involved and appearing
      neurologically intact, except for the radial digital nerve of his index
      finger. Head, Ears, Eyes, Nose, Neck, and Oral Cavity: Grossly within normal
       limits. Chest, Heart, Lungs, and Abdomen: Grossly within normal limits.
      Extremities: Examination of the right index finger reveals a jagged stellate
      angular avulsion of the dorsum of the soft tissue, extending down to the underlying
      bone,
      with exposed fragmented extensor tendon and extending through the radial side.
      The radial digital nerve sensation distally to the zone of injury was absent as well as the
      neurovascular
      bundles, as noted intraoperatively. The patient was unable to extend his
      DIP joint. Flexion was intact. There was good capillary refill of the distal
      pulp.
      After evaluating the patient, it was discussed with him at length the nature
      of the injury, that there would be a residual effect from the involved injury,
       the quality of which would have to be evaluated with time; the possibilities
      of bleeding, infection, hematoma, possibilities of further surgeries in the
      future, the strong possibilities of extensor lag, the possibilities of fusion,
       and the need for occupational and physical therapy, as well as sympathetic
      reflex dystrophy. We answered all of the patient's questions concerning the
      surgical procedure. The consent was a fully informed consent. He insisted we
      proceed.
      The procedure took place as follows,

      DESCRIPTION OF PROCEDURE: Intravenous was started. Intravenous antibiotics
      were administered and completed. The patient was brought into the operating
      room and placed on the operating room table in the supine position, with the
      injured hand extended on the hand table. Vital signs were noted and monitored
       to be stable. The hand was reexamined. A time-out was called, and the
      operative site as well as the patient identified and all agreed upon.
      The hand was washed with soap and water and copiously irrigated with Betadine
      solution, followed by copious amounts of saline solution. The hand, wrist,
     'and forearm were circumferentially cleaned, prepped and draped in the usual
      fashion, and isolated in a sterile towel field. There was induction of block



Z      Hamid la(MR # 103275563)Printed by John J Vaccaro, MD [JV1431] at 2/5/18 1... Page 2 of4
 Case
zoo   2:19-cv-19664-KSH-CLW
    Hamid                    Document 1-1 Filed 10/31/19 Page 36 of 42 PageID: 45
          1.6(AR # 10327 53)DOB,


     anesthesia utilizing 1% lidocaine plain, supplemented by 0.5% Marcaine plain,
     both without epinephrine. Allowing a 10-minute period of time to elapse for
     the complete anesthetic effect, the finger was exsanguinated and a tourniquet
     was placed at the base of the finger.
     Upon completion of this, the wound was pulse Irrigated and explored. There were no
     foreign body
     fragments found, but there was shredded extensor tendon. There was an area of
      a bony avulsion fragment as well as the radial digital nerve disrupted,
     including the artery and the vein. There was devitalization of the dermis and
      integumental tissue on the dorsal aspect as well.
     Upon completion of this, then, after exploration of the wound, my attention
     then turned to utilizing a K-wire to stabilize the distal phalanx and middle
     phalanx. Once this was completed, there was lengthening of the wound in both
     radial and ulnar directions performed with a #15 scalpel blade, followed by
     the micro iris scissors. The flaps were held back, Hemostasis was obtained with the
     cautery, and the
     wound was again irrigated with saline solution,
     My attention turned to the fragments of bone, which were reduced and placed in
      the areas of defect and sutured in place; my attention then turned to the fragmented
     shredded
     extensor tendon. The extensor tendon was repaired with interrupted mattress
     sutures of 4-0 nylon. The wound was again irrigated with saline solution.
     My attention now turned to the radial digital nerve, artery, and vein. The nerve
     was repaired with interrupted sutures of 7-0 nylon at 6 and 12 o'clock.
     Upon completion of this, the wound was again Irrigated, and the flaps that
     were raised were released and repaired with interrupted and running sutures of
      5-0 nylon. The hand was elevated. The tourniquet was released, and pressure
      was maintained over the operative site for 10 minutes. A dressing of
     bacitracin ointment and Xeroform gauze was placed, incorporating a protective
     splint to the affected finger, hand, and forearm. At that point, the
     procedure was terminated. The patient tolerated the procedure well, without any
     problems or difficulties.

     Postoperatively, the patient was to be given analgesics for pain, no aspirin
     or aspirin products. He was to be continued on a course of antibiotics.
     He was to keep his hand elevated. Keep the dressing dry, clean, and intact.
     Signs of infection were discussed. He is to avoid caffeine. Signs of infection discussed.
     Call if there are any problems. Call for followup within the week.
     The patient was fully aware of the procedure, the risks, the options, the need for
     followup care.
     After an adequate period of time and observation, the patient was able to be
     discharged in the accompaniment of an adult for followup in our office.

     CC: John J. Vaccaro, M.D.

     Electronically signed by John J Vaccaro, MD at 2/2/2018 14:07
     Revision History

    Media

Z     HamidliPMR # 103275563)Printed by John J Vaccaro, MD [JV1431] at 2/5/18 1 .. Page 3 of 4
Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 37 of 42 PageID: 46




                        EXHIBIT N
 Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 38 of 42 PageID: 47
                                        JOHN J. VACCARO,.M.D., P.A., F.A.C.S.

                                            Diplomate American Board of Plastic Surgery
             •                              Fellow of the American College of Surgeons
          Member                                                                                           Member
    A merican Society fur                                                                           AMUICAN SOCIXTY OF
Aesthetic Plastic Surgeiy, Inc.                                                                      PLASTIC SURCIONS


                                               ASSIGNMENT OF BENEFITS

                                                LTD. POWER OF ATTORNEY

I irrevocably assign to you, my medical provider, all of my rights and benefits under my insurance contract
and/or any employee welfare benefit plan for payment for services rendered to me, including but not
limited to all of my rights under "ERISA" applicable to the medical services at issue. I authorize you to file
insurance claims on my behalf for services rendered to me and this specifically includes filing
arbitration/litigation in your name on my behalf against the PIP carrier/health care carrier. I irrevocably
a uthorize you to retain an attorney of your choice on my behalf for collection of your bills. I direct that all
reimbursable medical payments go directly to you, my medical provider. I authorize and.consent to your
acting on my behalf In this regard and in regard to my general health insurance coverage and I specifically
a uthorize you to pursue any administrative appeals conducted pursuant to "ERISA".

In the event the insurance carrier responsible for making medital payments In this matter does not accept
m y assignment, or my assignment is challenged or deemed invalid, I execute this limited/special power of
attorney and appoint and authorize your collection attorney as my agent and attorney to collect payment
for your medical services directly against the carrier In this case, In my name, including filing arbitration
demand or lawsuit. I specifically authorize that attorney to file directly against that carrier in my name or in
your name as a medical provider rendering services to me and designate your collection attorney as my
attorney in fact. I further grant limited power of attorney to you as my medical provider to receive and
collect directly from the insurance carrier money due you for services rendered to me In this matter, and
hereby instruct the insurance carrier to pay you directly any monies due you for medical services you
rendered me. I authorize you and or your attorney to receive from my insurer, immediately upon verbal
request, all information regarding last payment made by said Insurer on my claim, including date of
payment and balance of benefits remaining.

I authorize you and or your attorney to obtain medical information regarding my physical condition from
any other health care provider, including hospitals, diagnostic centers, etc., and I specifically authorize such
health care provider(s) to release all such information to you about me, including medical reports, X-ray
reports, and any other report or information regarding m p ysicabcon

Dated:                 /06 1      1if
                                                           Patl       ghatu e
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                        EXHIBIT 0
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    ,rIL
       leF,
          - R".
    rj                                                                                                                    Oxford Health
                                                                                                                          P 0 Box 29130
    HEALTH INSURANCE CLAIM FORM
    APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE(NUCC)02/12                                                               Hot Springs                                AR    71903




                                                                                                                                                                                                                                                  >- 1-±
         1 (PICA                                                                                                                                                                                                                 PICA 17-1-
                                                                                                                                 .. .............                                                                                        '
     1. MEDICARE            MEDICAID            TRICARE               CHAMPVA                  GROUP              FECA                 OTHER 1a. INSURED'S I.D. NUMBER                                           (For Program in Item 1)
                                                                                               HEALTH PLAN        BLK LUNG
        (Medlcarell)       (Medlcald#) Ej(IDN/DoD#)             0(Member10#)❑ (113#)                       0am                       aDo 1324732701
     2.PATIENT'S NAME (Last-Name, First Name, Middle Initial)                      3. PATIENT'SRIRITH DyVE                 SEX                 4. INSURED'S NAME (Last Name, First Name, Middle Initial)

    1111. Hamid .
    3                                                                                1111.111111111111ir           M             F         gpip.Hamid
    5.PATIENTS ADDRESS(No., Street)                                                6. PATIENT RELATIONSHIP TO INSURED                          7.INSURED'S ADDRESS(No.,Street)

    .1 101111111111.11110                                                              Sell° Spouse❑ Child                  Olher EI       dismoviimik
       CITY                                                             STATE      8.RESERVED FOR NUCC USE                                     CITY                                                                          STATE




                                                                                                                                                                                                                                                  ---(- PATIENT AND I NSURED INFORMATION
                  aguiess                                               NJ                                                                 illIPMMIIIIMP                                                                      NJ
     ZIP CODE                           TELEPHONE (Include Area Code)                                                                          ZIP CODE                                        TELEPHONE (Include Area Code)

    10111116                            iiiiiiIIIIIM                                                                                       4111h                                                 (amailesis
     9.OTHER INSURED'S NAME (Last Name,First Name,Middle Initial)                  10.IS PATIENT'S CONDITION RELATED TO:                       11.INSURED'S POLICY GROUP OR FECA NUMBER
    N
    .     Hamid                                                                                                                            EG5312
    a.OTHER INSURED'S POLICY OR GROUP NUMBER                                       a.EMPLOYMENT? (Current or Previous)                         a.INSURED'S DATE OF BIRTH                                              SEX
                                                                                                                                                           e
                                                                                                                                                           ignifi
    iN2A08119                                                                                     DYES             ©NO
                                                                                                                                                                 1
                                                                                                                                                                                                            M   3
     b.RESERVED FOR NUCC USE                                                         b.AUTO ACCIDENT?                                          b.MINER CLAIM ID (Designated by NUCC)
                                                                                                                           PLACE (Slate)
                                                                                                  0YES             ®NO       L_____J
                                                                                                                                                      i
     c.RESERVED FOR NUCC USE                                                       c.OTHER ACCIDENT?                                           c.INSURANCE PLAN NAME OR PROGRAM NAME
                                                                                                  El YES           01 NO                   Dxford Health
     d.INSURANCE PLAN NAME OR PROGRAM NAME                                         10d.CLAIM CODES(Designated by NUCC)                         d.IS THERE ANOTHER HEALTH BENEFIT PLAN?

    CNA                                                                                                                                             EiYES                 NO           (Iyes,complete items 9,9a,and 9d.
                                READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM.                                                       13.INSURED'S OR AUTHORIZED PERSON'S SIGNATURE I authorize
    12.PATIENT'S OR AUTHORIZED PERSON'S SIGNATURE I authorize the elease of any medical or other Information necessary                            payment of medical benefits to the undersigned physician or supplier for
    . to process thls claim.I also request payment of government benefits either to myself or to the party who accepts assignment                 services described below.
       below.

         sioNEDSignaturp_On File                                                                DATE 06 11 19                                         SIGNED         Signature On File
                                                                                                                                                                                      4,WORK IN CURRENT OCCUPATION




                                                                                                                                                                                                                                                         I
     14.DATE OggUI RREN;ILLNESS,INi1URY,or PREGNANCY(LMP) 15.OTHER DATE                                                                        16.DATESaATIENTDBNPI.BLE
        MM                                                                                                MM     1 DD I     YY
           I                QUAL.I                        QUAL.'      1                                          i    1                             FROM             I      I                             TO
     17.NAME OF REFERRING PROVIDER OR OTHER SOURCE                                                                                             18.HOSPITALIZATION DATES RELATED TO CURRENT SERVICES
            i                                                                                                                                           MM 1 DD 1 YY                 MM 1 13D 1   YY
            i                                                                 17b.   NPI                                                          FROM      1      1             TO     i     i
          i
     19.ADDITIONAL CLAIM INFORMATION (Designated by NUCC)                                                                                      20.OUTSIDE LAB?                                            $ CHARGES
                                                                                                                                                            YES          iNO      I                                 0100
     21.DIAGNOSIS OR NATURE OF ILLNESS OR INJURY Relate Al to service line below(24E)
                                                                                                           ICD Ind.0                           22.RESUBMISSION
                                                                                                                                                    CODE             1 ORIGINAL REF.NO.
      A.t66 421A                         B.S64490A                           C.t62-63013--                        D. I                                               I
      E. I                               F. I                                G I                                                               23.PRIOR AUTHORIZATION NUMBER
                                                                                                        H I
      I. I                               J. I                            K. I                           L l
     24. A.       DATE(S)OF SERVICE                     B.    C.    D. PROCEDURES,SERVICES,OR SUPPLIES                           E.                         F.                  G.           H. I.                          J.




                                                                                                                                                                                                                                                     PHYSICIAN OR SUPPLIER INFORMATION
                From   .          To                 PLACE OF           (Explain Unusual Circumstances)                      DIAGNOSIS                                         DAYS        EPSDT ID.                   RENDERING
                                                                                                                                                                                OR         Filmy
      MM        DD    YY    MM   DO             YY   SERVICE EMG     CPT/HCPCS I               MODIFIER                       POINTER               $ CHARGES                  UNITS        San QUAL.                 PROVIDER ID.N
1     01
            I
           131 118
                    I
                             01 I al
                                            I
                                            18       23             26418
                                                                                                                                                                I
                                                                                                                                                          13748 p1         1                           NPI      1861463267
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2        i   i                  i           i                                                         I      I       i                                         i 1                                 _                               _
     '01 131 118             01 131         18       123            64831                  I.                       .1       B                             88833 11                                    NPI      1861463267
3           i                               ,                                                                       i                                           i                                                            - •• - - - - -
      Al   131_ AB            01 1 31       18       In             26765                  I          1      1      1        C                             6974 40         1                           NPI      1861463267
4
      01 131 118              01 131        li8      123   I       199285                  125        1      i      i       IA B C                          920 00        I1               I           1'11'1   1861463267
5
      01 131 118 101 131                    118      63    I       129125                  I          1      i      i       IA B C         I                419 90 I 1                     I       - NPI 1861463267

6           1       1              1
                                                                                           I'
         1     1      I      1                       1     1       1.                  ,              i          i    1                                    ,,                              1           NPI
     25.FEDERAL TAX I.D. NUMBER
                 •
                                                SSN EIN         26.PATIENT'S ACCOUNT NO.                  27.16?ircgleiggsgr?                  28.TOTAL CHARGE                     29.AMOUNT PAID                     30.Rsvd for NUC(; I Ise
                                                                                                                 YES      ENO                   $                                                                            26510_1?0
     22 2550670                                 El L:1         2760                                                                                          30944164                  $               4434;44                                a
     31.SIGNATURE OF PHYSICIAN OR SUPPLIER                      32.SERVICE FACILITY LOCATION INFORMATION                                       33.BILLING PROVIDER INFO & PH ll                        ( 732 9)4 2100
        INCLUDING DEGREES OR CREDENTIALS
        (I certify that the statements on the reverse          Hackensack University Medical Center                                            John J Vaccaro M D P A
        apply to this bill and are made a part thereof.)
                                                               30 Prospect Avenue                                                              202 Route 37 West Suite 1
                                                               Hackensack NJ 07601 1914                                                        Toms River NJ 08755 8055
     John J Vaccaro M D                    06 11 19                                               b                                                                                b.
                                                                                                                                                                                                                                                           1 <




      SIGNED                                 DATE              ra. 1609862036                                                                       1730372685
     NUCC Instruction Manual available at: www.nucc.org                                         PLEASE PRINT OR TYPE                                             APPROVED OMB-0938-1197 FORM 1500(02-12)
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                        EXHIBIT P
            Case 2:19-cv-19664-KSH-CLW Document 1-1 Filed 10/31/19 Page 42 of 42 PageID: 51
                 1210XOPPRO026001-07480-02



                     Oxford Health Insurance Inc
                     UnitedHealthcare - Oxford
                     4 Research Drive
                                                                         STD - PRA            UnitedHealthcare
                                                                                                                        Oxford
                     Shelton CT 06484
                     Phone: 1-800-666-1353                       PROVIDER
                                                             REMITTANCE ADVICE
                                                                                                  CHECK DATE: 04/30/18
                                                                                                          TIN: 222650670
                                                                                                 VENDOR NAME: J OHN J VACCARO MD PA                 .1111111•MM

                                                                                                CHECK NUMBER: 26837860
                     J OHN J VACCARO MD PA                                                      CHECK AMOUNT: $4,434.44
                     PO BOX 249                                                                     VENDOR ID: D04937-P933245
                     HASBROUCK HEIGHTS NJ 07604




 PATIENT: HAMID ZOOM
 MEMBER ID:        19247327'01     PATIENT ACCT NUM: 2760                                                         CLAIM NUMBER:     8094E06068
 PROVIDER ID:      P983245                                                                                          OVIDER NAM       VACCARO,JOHN
  DATE(s) DESCRIPTION-OF SERVICE QTY BILLED AMT MAXIMUM DEDUCTIBLE COPAY/COI              COB AMT     WITHHOLD    PAYMENT      PATIENT     AD)
     OF                                             AMOUNT AMT       NS AMT                             AMT          AMT      RESP AMT CODE
  SERVICE
 01/31/18 REPAIR FINGER TENDON       1       $0,00                                            $0.00       $0.00        $0,00        $0,001317
           (26418)
 01/31/18    REPAIR OF DIGIT NERVE         1    $8,883.23    $2,728.95          $545,79       $0,00       $0,00     $2,183.16     $545,79 A88R
            (64831)
 01/31/18   TREAT FINGER FRACTURE,        1          $0,00                                    $0,00       $0.00        $0,00        $0,001317
            EACH(26765)
 01/31/18    EMERGENCY DEPT VISIT          1       $920.00    $650.13           $130.02       $0.00       $0.00      $520.11      $130.02 A88R
            (99285-25)
 01/31/18    APPLY FOREARM SPLINT          1       $419,00                                    $0,00       $0.00        $0.00        $0,00 TODD
            (29125)
 01/31/18    REPAIR FINGER TENDON         1    $13,748.01    $1,163,21          $232,64       $0.00       $0.00      $930.57      $232.64 A88R
            (26418-51)
 01/31/18   TREAT FINGER FRACTURE,         1    $6,974.40    $1,000,75          $200.15       $0,00       $0.00      $800.60      $200.15 A88R
            EACH (26765-51)
       CLAIM 8094E06068 SUBTOTAL               $30,944,64    $5,543,04         $1,108,60      $0,00       $0.00     $4,434,44    $1,108,60
                                                                                     TOTAL PAYABLE TO PROVIDER      $4,434.44

 Adjustment Code Description
 A88R     You do not participate in our network, As a result, the claim has been paid at 350% of the rate established by the federal
          government for the Medicare program for the services provided, The member is only responsible for any copayment, coinsurani
          and deductible amounts shown on this Remittance Advice statement. Please DO NOT contact our member about any other
          amounts and DO NOT balance bill the member. Contact Provider Services if you have any questions concerning the processin
          of this claim at 800-666-1353,
 T317     This adjustment code has been applied to indicate that multiple surgical procedures were performed during the same operatini
          session. This claim has been reimbursed in accordance with Oxford's Multiple Surgery policy, which is based upon generally
          accepted insurance industry standards for reimbursement of multiple surgical procedures, Under this policy, the primary
          procedure is reimbursed at 100% of the fee schedule (minus any applicable member cost-share), All subsequent procedures a
          reimbursed at 50% of the fee schedule, The primary surgery has been determined using the Medicare methodology of relying c
          the Relative Value Units (RVU), Participating providers may not balance bill the member for this service,
 TCOD This service is ineligible for reimbursement as a separate procedure under Oxford policy, which is based upon Medicare's
          Correct Coding initiative (CCI). According to CCI, this procedure may not be billed with the other procedure(s) performed and
          not eligible for separate reimbursement. Participating providers may not balance bill the member for this service.

For the above claims please visit www.oxhp.com
